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                                                                  UNITED STATES DISTRICT COURT
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                                                                       DISTRICT OF NEVADA
                             8

                             9   CARSON CITY, a consolidated municipality
                                 and political subdivision of the State of
                         10      Nevada,                                   Case No. 3:22-cv-00006-LRH-CLB
                         11                     Plaintiff,
                                                                                    ORDER GRANTING
                         12            vs.                                          STIPULATION FOR DISMISSAL
                                                                                    WITH PREJUDICE
                         13      THE TRAVELERS INDEMNITY
                                 COMPANY, a Connecticut Corporation;
                         14      ROE COMPANIES I - X, and; DOE
                                 INDIVIDUALS I - X,
                         15
                                                Defendants.
                         16

                         17                  IT IS HEREBY STIPULATED, by and between Plaintiff CARSON CITY, a
                         18      consolidated municipality and political subdivision of the State of Nevada, by and through its
                         19      undersigned counsel, and Defendant THE TRAVELERS INDEMNITY COMPANY, a
                         20      Connecticut       Corporation,     each   party   acting   through   its   undersigned   counsel:
                         21      Ill

                         22      Ill
                         23      Ill

                         24      Ill

                         25      Ill

                         26      Ill

                         27      Ill

                         28      Ill
 LEMONS, GRUNDY
   &EISENBERG
A PROFESSIONAL CORPORATION
  6005 PLUMAS STREET
      THIRD FLOOR
  RENO, NV 89519-6059
     (775) 786-6868
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                                 Case 3:22-cv-00006-LRH-CLB Document 44 Filed 03/01/24 Page 2 of 2



                             1            That the above-captioned matter be dismissed with prejudice, with each party to bear
                             2   their respective attorney's fees and costs.
                             3            Dated: February 29th, 2024.                     Dated: February 29th, 2024
                             4   LEMONS, GRUNDY & EISENBERG                               RAY LEGO & ASSOCIATES
                             5

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                             7   By: Isl Dane A. Littlefield, Esq.                     By: Isl Timothy F. Hunter, Esq.
                                     Douglas R. Brown, Esq. (SBN 7620)                  Timothy F. Hunter, Esq. (SBN 01622)
                             8       Dane A. Littlefield, Esq. (SBN 14080)               M. Keith Moskowitz, Esq. (Pro Hae Vice)
                                     Attorneys for Plaintiff Carson City                 Nathan P. Shimodoi, Esq. (Pro Hae Vice)
                             9                                                           Attorneys for Defendant



                         11

                         12                                                    ORDER

                         13               Pursuant to the Stipulation between the parties, IT IS ORDERED that above-captioned

                         14      matter be dismissed with prejudice with each party bearing their respective attorney's fees and

                         15      costs.

                         16               IT IS FURTHER ORDERED that the Clerk of the Court shall enter final judgment

                         17      accordingly, dismiss this action, and close this case.

                         18               IT IS SO ORDERED.

                         19               DATED this 1st day of March, 2024.
                         20

                         21                                                               _________________________________
                                                                                          LARRY R. HICKS
                         22                                                               UNITED STATES DISTRICT JUDGE
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 LEMONS, GRUNDY
   &EISENBERG
A PROFESSIONAL CORPORATION
  6005 PLUMAS STREET
      THIRD FLOOR
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